92 F.3d 1194
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Robert Barry JORDAN, Defendant-Appellant.
    No. 95-35520.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted March 4, 1996.Submission Vacated March 4, 1996.Resubmitted July 25, 1996.Decided July 25, 1996.As Amended Oct. 30, 1996.
    
      Before:  REINHARDT, KOZINSKI and FERNANDEZ, Circuit Judges.
    
    ORDER
    
      1
      This case is ordered RESUBMITTED.
    
    
      2
      MEMORANDUM*
    
    
      3
      In light of United States v. Ursery, No. 95-345, 1996 WL 340815 (June 24, 1996), the district court's order denying Jordan's motion to vacate his conviction and sentence is
    
    
      4
      AFFIRMED.
    
    
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by Ninth Circuit Rule 36-3
      
    
    